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                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF INDIANA
                                 SOUTH BEND DIVISION

 JOHN FRALISH, individually and on             )
 behalf of all others similarly situated,      )
                                               )
                Plaintiff,                     )
                                               )
        v.                                     )
                                               ) CAUSE NO.: 3:21-cv-00761-JD-MGG
 SOLIDQUOTE LLC                                )
 and BOOMSOURCING INC.,                        )
                                               )
                Defendants.                    )

  DEFENDANT SOLIDQUOTE LLC’s THIRD UNOPPOSED MOTION FOR
       EXTENSION OF TIME TO FILE RESPONSIVE PLEADING

        Defendant SolidQuote LLC (“SolidQuote”), pursuant to Local Rule 6-1(a), respect-

 fully moves the Court for a ten (10) day extension of time, to and including January 31,

 2022, to answer, move, or otherwise respond to Plaintiff’s Complaint (Doc. No. 1). In sup-

 port of its motion, SolidQuote states as follows:

        1.      On October 9, 2021, Plaintiff filed his Complaint in this case (Doc. No. 1.)

        2.      On December 2, 2021, the Court granted SolidQuote’s first unopposed mo-

 tion for an extension of its responsive pleading deadline until December 22, 2021. (Doc. No.

 10.)

        3.      On December 15, 2021, Defendant Boomsourcing, Inc. (“Boomsourcing”)

 filed an unopposed motion for extension of its responsive pleading deadline to January 21,

 2022, which the Court approved on December 21, 2021. (Doc. Nos. 13 and 14.)

        4.      On December 21, 2021, SolidQuote similarly moved to extend its responsive

 pleading deadline until January 21, 2022, which the Court approved the following day. (Doc.

 Nos. 15 and 16.)
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        5.      SolidQuote’s current responsive pleading deadline of January 21, 2022 has

 not passed.

        6.      On January 19, 2022, Boomsourcing filed another unopposed motion for an

 additional extension of its responsive pleading deadline until January 31, 2022. (Doc. No.

 18.)

        7.      Given the parties’ ongoing discussions regarding potential resolution of

 Plaintiff’s claims, SolidQuote also requires additional time to respond to the allegations in

 Plaintiff’s Complaint.

        8.      SolidQuote’s counsel has conferred with counsel for Plaintiff regarding a re-

 ciprocal extension of SolidQuote’s responsive pleading deadline to and including January

 31, 2022, and Plaintiff’s counsel agreed to the proposed extension.

        9.      This motion is not made for the purpose of delay.

        10.     In seeking the foregoing extension, SolidQuote does not waive and expressly

 reserves all defenses relating to Plaintiff’s Complaint, including but not limited to jurisdic-

 tional defenses.

        WHEREFORE, SolidQuote respectfully requests that the Court GRANT this motion

 and extend SolidQuote’s deadline to answer, move, or otherwise respond to Plaintiff’s Com-

 plaint to and including January 31, 2022.




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 Dated: January 19, 2022                     Respectfully submitted,

                                              /s/ Erin Linder Hanig
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                                             Counsel for Defendant,
                                             SolidQuote LLC



                             CERTIFICATE OF SERVICE

        I hereby certify that, on January 19, 2022, a true and correct copy of the foregoing
 has been served upon all counsel of record by the Court’s CM/ECF document filing system.


                                          /s/ Erin Linder Hanig____________
                                          Erin Linder Hanig (29113-71)




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